                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DMSION
                                  No. S:1S-CR-173-D
                                  No. S:20-CR-278-D


ANASTACIO CANTERO-BOLANOS,                    )
                                              )
                              Petitioner,     )
                                              )
                  v.                          )                    ORDER
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                              Respondent      )


       On June 17, 2020, petitioner filed a motion to vacate under 28 U.s~c. § 225S [D.E. 44]. On

September 22, 2021, the government filed a motion to dismiss [D.E. S7, S8]. On September 22, 2021,

the petitioner filed a notice ofwithdrawal ofmotion to vacate [D.E. S9]. In light ofpetitioner's notice
                       ,

of withdrawal, the court DISMISSES AS MOOT the government's motion to dismiss [D.E. S7].

       SO ORDERED. This _i__ day ofNovem.ber, 2021.



                                                          JSc~DEVERm
                                                          United States District Judge




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